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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                   v.                                       Case No. 21-CR-175-2 (TJK)

JOSEPH RANDALL BIGGS, et al.,

              Defendants.


                BIGGS’ PRETRIAL DETENTION STATUS REPORT:
           BRIEF HISTORY, TRAVELOGUE AND CURRENT CONDITIONS

     Today defendant Joseph R. Biggs begins his twelfth month in pretrial detention.
     Biggs’s initial hearing on January 20, 2021 in the U.S. District Court for the Middle District
of Florida was followed by a strict conditions home release which he served with kudos over for
three months. In mid-March 2021, a superseding indictment was returned based on predominantly
the same January 6 breach facts. After a detention hearing of April 6 and 20, 2021, the Court on
April 21 ordered Biggs detained—based on future dangerousness—and to report back to the
Florida Middle District. Biggs did so on April 22. Between April 22, 2021 and March 3, 2022,
Biggs was detained in the federal hold of the Seminole County Jail, in Sanford, Florida.
     Pursuant to an order of this Court on January 21, 2022 (ECF#381), the government was
directed to transport Biggs to a Washington, D.C. jail. On March 4, 2022, Biggs was removed
from custody in Florida and flown to the Grady County, Oklahoma Jail, where he remained
in solitary confinement until March 11. On March 11, he was removed from that jail and
transported to the Alexandria Detention Center in Alexandria, Virginia (ADC), where he has
remained since March 12 on COVID quarantine.
     Biggs just completed day 10 of a 10-day COVID quarantine in the ADC. According to jail
officials, after he is tested for COVID, he will begin a 30-day administrative lockdown, a form of
solitary confinement, on a trial or experimental basis. No other details about Biggs’ future pretrial
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detention at ADC or the DC Main Jail are known.


                                          Respectfully submitted,
                                          COUNSEL FOR JOSEPH R. BIGGS

Dated: March 22, 2022                      By: /s/ J. Daniel Hull
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on March 22, 2022, Defendant Biggs’ Status Report on

Pretrial Detention was served upon all counsel of record via the Electronic Case Filing (ECF)

system.

                                                   By: /s/ J. Daniel Hull
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